                 Case 23-10831-MFW              Doc 937       Filed 01/30/24        Page 1 of 12


                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                      Case No. 23-10831 (MFW)

                                                          (Jointly Administered)
             Debtors.
                                                          Objection Deadline:
                                                          February 20, 2024, at 4:00 p.m. (ET)

                                                          Hearing Date:
                                                          Only if objection(s) are filed

   SUMMARY COVER SHEET TO THE SIXTH MONTHLY APPLICATION OF
  TROUTMAN PEPPER HAMILTON SANDERS LLP FOR COMPENSATION FOR
SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL FOR
 THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
  FROM DECEMBER 1, 2023 THROUGH AND INCLUDING DECEMBER 31, 2023

Name of Applicant:                                    Troutman Pepper Hamilton Sanders LLP
Authorized to provide professional
services to:                                          Official Committee of Unsecured Creditors

Petition Date:                                        June 27, 2023

Date of Retention:                                    August 23, 2023 effective as of July 17, 2023
Period for which compensation and
                                                      December 1, 2023 through December 31, 2023
reimbursement are sought:
                                                       $117,719.00 (reduced to $113,125.00, based on Troutman
                                                       Pepper’s agreement to charge, on a monthly basis, the
Amount of compensation sought as actual,               lesser of (a) the blended rate of $750/hour for all
reasonable, and necessary:                             timekeepers or (b) its professionals’ standard hourly billing
                                                       rates, subject to payment of the difference, if any, pursuant
                                                       to terms of its Retention Order)

Amount of expense reimbursement sought as
                                                      $207.80
actual, reasonable, and necessary:


This is a(n):       X monthly             interim          final application
Troutman Pepper Hamilton Sanders LLP intends to seek compensation in connection with the preparation
of this Application at a later date.

1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.



166675408v1
                 Case 23-10831-MFW           Doc 937        Filed 01/30/24      Page 2 of 12




                        Summary of Previously Filed Monthly Applications

    DATE FILED                                      REQUESTED                     APPROVED TO DATE
                    PERIOD COVERED
    DOCKET NO.
                                               FEES           EXPENSES          FEES          EXPENSES
      9/6/23
                    7/17/23 – 7/31/23       $178,8581          $82.48         $137,2202         $82.48
    [D.I. 372]
     10/17/23
                    8/1/23 – 8/31/23        $299,4603          $303.51        $225,9004        $303.51
    [D.I. 574]
     11/14/23
                    9/1/23 – 9/30/23        $204,8195         $1,148.10       $158,5806       $1,148.10
    [D.I. 698]
     11/22/23
                   10/1/23 – 10/31/23       $212,6087         $1,010.33       $153,0608       $1,010.33
    [D.I. 733]
     12/26/23
                   11/1/23 – 11/30/23       $104,6019          $254.66       $83,680.80        $254.66
    [D.I. 869]


1
 Reduced to $171,525, based on Troutman Pepper’s agreement to charge, on a monthly basis, the lesser of
(a) the blended rate of $750/hour for all timekeepers; or (b) its professionals’ standard hourly billing rates,
subject to payment of the difference, if any, pursuant to terms of its Retention Order.
2
 This figure represents 80% of $171,525, the agreed-to reduced rate.
3
 Reduced to $282,375, based on Troutman Pepper’s agreement to charge, on a monthly basis, the lesser of
(a) the blended rate of $750/hour for all timekeepers; or (b) its professionals’ standard hourly billing rates,
subject to payment of the difference, if any, pursuant to terms of its Retention Order.
4
 This figure represents 80% of $282,375, the agreed-to reduced rate.
5
 Reduced to $198,225, based on Troutman Pepper’s agreement to charge, on a monthly basis, the lesser of
(a) the blended rate of $750/hour for all timekeepers; or (b) its professionals’ standard hourly billing rates,
subject to payment of the difference, if any, pursuant to terms of its Retention Order.
6
 This figure represents 80% of $198,225, the agreed-to reduced rate.
7
 Reduced to $191,325, based on Troutman Pepper’s agreement to charge, on a monthly basis, the lesser of
(a) the blended rate of $750/hour for all timekeepers; or (b) its professionals’ standard hourly billing rates,
subject to payment of the difference, if any, pursuant to terms of its Retention Order.
8
 This figure represents 80% of $191,325, the agreed-to reduced rate.
9
 Troutman Pepper did not reduce its fees for this period. As set forth in the respective fee application, the
blended hourly rate was less than $750/hour for all timekeepers.




                                                      -2-


166675408v1
                  Case 23-10831-MFW          Doc 937     Filed 01/30/24      Page 3 of 12



                         MONTHLY COMPENSATION BY INDIVIDUAL
                                    (For the period: 12/1/23 – 12/31/23)
                                                                                                 Number
                                                                     Hours         Hourly
                       Position                      Fees Billed                                 of Rate
                                                                      billed     Rate Billed
Timekeeper Name      (Year of Bar     Department     in this Fee                                Increases
                                                                   in this Fee   in this Fee
                     Admission)                      Application                               in this Fee
                                                                   Application   Application
                                                                                               Application

                      Partner         Finance &
Francis J. Lawall                                     $41,125         32.9         $1,250         None
                      (1985)         Restructuring
                      Partner         Finance &
David M. Fournier                                       $125           .1          $1,250         None
                      (1989)         Restructuring
Deborah Kovsky-       Partner         Finance &
                                                      $41,076         48.9          $840          None
Apap                  (2003)         Restructuring
                      Partner          Business
Sean P. McNally                                         $222           .3           $740          None
                      (2003)          Litigation
                     Associate        Finance &
Tori L. Remington                                     $20,234         30.2          $670          None
                      (2022)         Restructuring
                                      Finance &
Susan M. Henry        Paralegal                        $2,769         7.1           $390          None
                                     Restructuring
                                      Finance &
Monica A. Molitor     Paralegal                       $12,168         31.2          $390          None
                                     Restructuring
                                       TOTALS:       117,719.00      150.7

  *The blended hourly rate (before reduction) for all services rendered by Troutman Pepper during the Fee
  Period is $781.15.




  166675408v1
               Case 23-10831-MFW             Doc 937     Filed 01/30/24   Page 4 of 12



                MONTHLY COMPENSATION BY PROJECT CATEGORY
                                 (For the period: 12/1/23 – 12/31/23)
     Project                                                               Total       Total
    Category                 Project Category Description                  Hours    Compensation
      Code                                                                 Billed      Billed
      B110      Case Administration                                          7         $3,162
      B112      General Creditor Inquiries                                  1.1           $687
      B113      Pleadings Review/Memos                                       2           $1,486
      B130      Asset Disposition                                           2.1          $1,515
      B150      Meetings of and Communications with Creditors               6.1          $4,511
      B155      Court Hearings                                              2.1          $1,386
      B160      Fee/Employment Applications                                 17.8         $7,931
      B165      Fees Applications and Invoices -Others                      5.7          $2,989
      B170      Fee/Employment Objections                                   2.5          $1,031
      B175      Employment and Retention Applications - Others              1.8           $898
      B185      Assumption/Rejection of Leases and Contracts                3.6          $3,485
      B190      Other Contested Matters                                     7.2          $4,176
      B191      General Litigation                                          4.4          $3,576
      B210      Business Operations                                          .2           $134
      B211      Financial Reports                                            .4           $336
      B230      Financing/Cash Collections                                   .4           $500
      B310      Claims Administration and Objections                        3.7          $3,486
      B320      Plan and Disclosure Statement                               82.6         $76,430
                                                               TOTALS:     150.7     $117,719.00




166675408v1
              Case 23-10831-MFW            Doc 937     Filed 01/30/24        Page 5 of 12




                                  MONTHLY EXPENSE SUMMARY

                                  (For the period: 12/1/23 – 12/31/23)

       EXPENSE DESCRIPTION                           VENDOR/PROVIDER                    AMOUNT

    Production and Mailing Charges            Parcels, Inc., Reliable Copy Service          $65.20

      Electronic Docket Searches,
                                                    PACER Service Center                    $77.80
          Document Retrieval

          Hearing Transcript(s)                      Reliable Copy Service                  $64.80

                                                                              TOTAL: $207.80




166675408v1
                  Case 23-10831-MFW              Doc 937       Filed 01/30/24        Page 6 of 12




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:
                                                          Chapter 11
                                                    1
    LORDSTOWN MOTORS CORP., et al.,
                                                          Case No. 23-10831-MFW

              Debtors.                                    (Jointly Administered)

                                                          Objection Deadline:
                                                          February 20, 2024, at 4:00 p.m. (ET)

                                                          Hearing Date:
                                                          Only if objection(s) are filed

             SIXTH MONTHLY APPLICATION OF TROUTMAN PEPPER HAMILTON
             SANDERS LLP FOR COMPENSATION FOR SERVICES RENDERED AND
              REIMBURSEMENT OF EXPENSES AS COUNSEL FOR THE OFFICIAL
              COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD FROM
              DECEMBER 1, 2023 THROUGH AND INCLUDING DECEMBER 31, 2023

                    Troutman Pepper Hamilton Sanders LLP (“Troutman Pepper”), counsel to the

Official Committee of Unsecured Creditors (the “Committee”) of Lordstown Motors Corp. and its

affiliated debtors (collectively, the “Debtors”), submits its sixth monthly fee application (the

“Application”), pursuant to sections 330(a), 331 of Title 11 of the United States Code, 11 U.S.C.

§§ 101-1532 (as amended, the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), Local Rule 2016-2 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), the United States Trustee Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed Under 11 U.S.C. § 330 issued by the Executive Office for United

States Trustees (the “Guidelines”), and this Court’s Order Establishing Procedures for Interim


1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
       Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
       address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.




166675408v1
              Case 23-10831-MFW         Doc 937       Filed 01/30/24   Page 7 of 12




Compensation and Reimbursement of Expenses for Chapter 11 Professionals and Committee

Members [Docket No. 181] (the “Compensation Procedures Order”), seeking entry of an order

authorizing allowance and payment by the Debtors in the amount of $117,719.00 (before

reduction) for professional services rendered and reimbursement of actual and necessary expenses

incurred in the amount of $207.80, from December 1, 2023 through December 31, 2023 (the “Fee

Period”). In support of this Application, Troutman Pepper respectfully states as follows:

                                     Jurisdiction and Venue

              1.      This Court has jurisdiction over this Application pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S. C. § 157(b)(2). Venue

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          Background

              2.      On June 27, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

for the District of Delaware (the “Court”). The Debtors are operating their business as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108. To date, no trustee or examiner

has been appointed.

              3.      On July 25, 2023, the Court entered the Compensation Procedures Order.

              Appointment of the Committee and Troutman Pepper’s Retention

              4.      On July 11, 2023, the Office of the United States Trustee for the District of

Delaware (the “United States Trustee”) appointed the Committee pursuant to Bankruptcy Code

section 1102(a)(1). The Committee formed by the United States Trustee includes the following

three members: Barry L. Leonard & Co., Inc., Superior Cam Inc., and SA Automotive Ltd. See

Docket Nos. 96 and 99.

                                                -2-

166675408v1
              Case 23-10831-MFW              Doc 937        Filed 01/30/24       Page 8 of 12




                5.       On July 17, 2023, the Committee selected Troutman Pepper to serve as its

counsel and Huron Consulting Group Inc. as its financial advisor.

                6.       On August 23, 2023, upon prior application of Troutman Pepper,1 the Court

entered the Order Authorizing the Employment and Retention of Troutman Pepper Hamilton

Sanders LLP as Counsel to the Official Committee of Unsecured Creditors Effective as of

July 17, 2023 [Docket No. 294] (the “Retention Order”).2

                7.       Pursuant to the Retention Application and Retention Order, Troutman

Pepper agreed to make certain adjustments to its billing rates in this case. First, “Troutman Pepper

shall, on a monthly basis, charge the lesser of (a) the blended rate of $750/hour for all timekeepers

or (b) its standard hourly billing rates for professional services rendered for such applicable month

. . . . If the general unsecured creditors receive a recovery of at least 50% in these chapter 11 cases,

Troutman Pepper may apply to recover the difference (if any) between its standard billed rates and

the blended rate, subject to further Court approval.” Retention Order ¶ 4. Additionally, Deborah

Kovsky-Apap (bankruptcy partner) and Sean McNally (litigation partner) have agreed to provide

a courtesy discount of their standard hourly rates of approximately 25%.                        See Retention

Application ¶ 17.




1
    See Application for Entry of an Order Authorizing the Employment and Retention of Troutman Pepper Hamilton
    Sanders LLP as Counsel to the Official Committee of Unsecured Creditors Effective as of July 17, 2023
    [Docket No. 234] (the “Retention Application”). The Retention Application was supplemented by the (i) First
    Supplemental Declaration of Deborah Kovsky-Apap in Support of Application for Entry of an Order Authorizing
    the Employment and Retention of Troutman Pepper Hamilton Sanders LLP as Counsel to the Official Committee
    of Unsecured Creditors Effective as of July 17, 2023 [Docket No. 675] and the (ii) Second Supplemental
    Declaration of Deborah Kovsky-Apap in Support of Application for Entry of an Order Authorizing the
    Employment and Retention of Troutman Pepper Hamilton Sanders LLP as Counsel to the Official Committee of
    Unsecured Creditors Effective as of July 17, 2023 [Docket No. 920].
2
    Capitalized terms used herein but not capitalized shall have the meaning(s) ascribed to them in the Retention
    Order.
                                                      -3-

166675408v1
              Case 23-10831-MFW          Doc 937       Filed 01/30/24     Page 9 of 12




                                   Summary of Services Rendered

              8.       Attached hereto as Exhibit A is a detailed statement of the fees incurred by

Troutman Pepper during the Fee Period, on behalf of the Committee, in the amount of $117,719.00.

              9.       The services rendered by Troutman Pepper during the Fee Period are

grouped into categories set forth in Exhibit A. The attorneys and paraprofessionals who rendered

services relating to each category are identified, along with the number of hours for each individual

and the total compensation sought for each category are set forth in Exhibit A.

              10.      By this Application, Troutman Pepper is seeking approval of $113,025.00

in fees based on 150.7 hours incurred by the Firm for services rendered on behalf of the Committee

during the Fee Period at a blended rate of $750/hour, subject to Troutman Pepper’s right to apply

for subsequent Court approval to recover the difference of its standard billed rates and the blended

$750 hourly rate for the Fee Period ($4,694.00), if the general unsecured creditors in this case

receive at least a 50% recovery.

                                       Summary of Expenses

              11.      Attached as Exhibit B are Troutman Pepper’s detailed computerized

records of expenses incurred on behalf of the Committee during the Fee Period in the amount of

$207.80. All entries detailed in Exhibit B comply with the requirements set forth in Local Rule

2016-2(e), including an itemization of the expenses by category, the date the expense was incurred,

and the individual incurring the expense, where available.

              12.      Troutman Pepper has not charged the Committee for internal photocopying

expenses. Troutman Pepper also does not charge for outgoing facsimile transmissions. The rates

charged by Troutman Pepper for computerized research vary according to the type of research

conducted and the specific files researched, but, in any event, such charges are billed at cost, as set

                                                 -4-

166675408v1
              Case 23-10831-MFW         Doc 937       Filed 01/30/24    Page 10 of 12




forth in Exhibit B. As per the Guidelines, Troutman Pepper has not requested reimbursement of

expenses related to overhead charges, such as secretarial services and proofreading.

                                      Valuation of Services

               13.     Troutman Pepper’s attorneys and paraprofessionals expended a total of

150.7 hours for the Fee Period. The professional time expended by the Firm, the value of said time

in fees, and the value of the actual expenses incurred by the Firm were actual, reasonable, and

necessary. In all respects, the Firm’s fees and expenses meet the standards for allowance under

Bankruptcy Code Section 330, as well as the standards that govern the review and allowance of

bankruptcy professionals’ fees.

               14.     In accordance with the factors enumerated in Section 330 of the Bankruptcy

Code, the amount requested is fair and reasonable given (i) the complexity of the case, (ii) the time

expended, (iii) the nature and extent of the services rendered, (iv) the value of such services, and

(v) the costs of comparable services other than in a case under chapter 11 of the Bankruptcy Code.

                                      Reservation of Rights

               15.     To the extent time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period but were not processed prior to the preparation of

this Application, or Troutman Pepper has for any other reason not sought compensation or

reimbursement of expenses herein with respect to any services rendered or expenses incurred

during the Fee Period, Troutman Pepper reserves the right to request additional compensation for

such services and reimbursement of such expenses in a future application.

                             Certificate of Compliance and Waiver

               16.     The undersigned representative of Troutman Pepper certifies that the

undersigned has reviewed the requirements of Local Rule 2016-2, and that the Application

                                                -5-

166675408v1
              Case 23-10831-MFW        Doc 937       Filed 01/30/24   Page 11 of 12




substantially complies with such Local Rule. To the extent that the Application does not comply

in all respects with the requirements of Local Rule 2016-2, the undersigned believes that such

deviations are not material. Accordingly, Troutman Pepper respectfully requests that any such

requirements be waived.

                                        No Prior Request

               17.    No prior application for the relief requested herein has been made to this or

any other court.

                                           Conclusion

               WHEREFORE, Troutman Pepper respectfully requests that the Court enter an

order (a) awarding Troutman Pepper compensation for professional and paraprofessional services

provided during the Fee Period in the amount of $117,719.00, less the agreed-to reductions as set

forth herein (without prejudice to seek the difference as set forth in the Retention Order), 80% of

which may be paid upon the filing of a certificate of no objection and reimbursement of actual,

reasonable, and necessary expenses incurred in the Fee Period in the amount of $207.80;

(b) authorizing and directing the Debtors to remit payment to Troutman Pepper for such fees and

expenses, pursuant to the Compensation Procedures Order; and (c) granting such other relief as is

appropriate under the circumstances.




                           [Remainder of page intentionally left blank]




                                               -6-

166675408v1
              Case 23-10831-MFW   Doc 937        Filed 01/30/24   Page 12 of 12




Dated: January 30, 2024            Respectfully submitted,
Wilmington, Delaware
                                   TROUTMAN PEPPER HAMILTON SANDERS LLP

                                   /s/ Tori L. Remington
                                   David M. Fournier (DE No. 2812)
                                   Tori L. Remington (DE No. 6901)
                                   Hercules Plaza, Suite 5100
                                   1313 N. Market Street, Suite 5100
                                   Wilmington, DE 19801
                                   Telephone: (302) 777-6500
                                   Email: david.fournier@troutman.com
                                           tori.remington@troutman.com
                                   -and-
                                   Francis J. Lawall (admitted pro hac vice)
                                   3000 Two Logan Square
                                   18th & Arch Streets
                                   Philadelphia, PA 19103-2799
                                   Telephone: (215) 981-4451
                                   Fax: (215) 981-4750
                                   Email: francis.lawall@troutman.com
                                   -and-
                                   Deborah Kovsky-Apap (admitted pro hac vice)
                                   875 Third Avenue
                                   New York, NY 10022
                                   Telephone: (212) 808-2726
                                   Fax: (212) 704-6288
                                   Email: deborah.kovsky@troutman.com
                                   -and-
                                   Sean P. McNally (admitted pro hac vice)
                                   4000 Town Center, Suite 1800
                                   Southfield, MI 48075
                                   Telephone: (248) 359-7317
                                   Fax: (248) 359-7700
                                   Email: sean.mcnally@troutman.com

                                   Counsel to the Official Committee of Unsecured
                                   Creditors




                                           -7-

166675408v1
